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 1                                                                     Hon. John C. Coughenour

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8
     KEVIN ZWICKER and TERESA K. PALMER,
 9   individually and on behalf of all others similarly   MDL No. 1896
     situated,
10                                                        NO. C07-0291 JCC
                            Plaintiffs,                   Consolidated with C08-0031-JCC,
11          v.                                            C08-0032-JCC, C08-0418-JCC
12   GENERAL MOTORS CORPORATION, a
     Delaware corporation,
13                                                        FINAL JUDGMENT
                            Defendant.
14
     ROY FALK, LEE KRATZER and BARBARA
15   McRAE, on behalf of themselves and all others
     similarly situated, and on behalf of the general
16   public,
17                          Plaintiffs,
            v.
18
     GENERAL MOTORS CORPORATION, a
19   Delaware corporation,
20                          Defendant.

21   CHRIS CHRISTENSEN, TERRY M. KELLY,
     and PEGGY KELLY, on behalf of themselves
22   and all others similarly situated,
23                          Plaintiffs,
            v.
24
     GENERAL MOTORS CORPORATION, a
25   Delaware corporation,
                            Defendant.

     FINAL JUDGMENT-1
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 1

 2   REBECCA CONNELLY, individually and on
     behalf of all others similarly situated,
 3                           Plaintiffs,
 4         v.
     GENERAL MOTORS CORPORATION, a
 5   Delaware corporation,
 6                           Defendant.

 7
                                          FINAL JUDGMENT
 8
            This matter having come before the Court on the application (Dkt. No. 123) of
 9
     Plaintiffs Kevin Zwicker, Teresa Palmer, Roy Falk, Lee Kratzer, Barbara McRae, Robert W.
10
     Christensen, Terry M. Kelly and Peggy Kelly, individually and as representatives of a certified
11
     Settlement Class (collectively, "Plaintiffs"), and General Motors Corporation ("Defendant") for
12
     approval of the settlement set forth in the Settlement Agreement and the exhibits thereto
13
     (collectively the "Agreement"), and the Court having considered all papers filed, all evidence
14
     submitted and proceedings had herein, including the timely objections to the proposed
15
     Settlement submitted by Class members, and the Court having heard the argument of counsel
16
     at the Final Approval Hearing on November 6, 2008, and no objector having appeared at the
17
     hearing, and the Court otherwise being fully informed;
18
            HEREBY ORDERS, ADJUDGES AND DECREES:
19
            1.      This Final Judgment incorporates the Agreement and the terms defined therein.
20
     A copy of the Agreement is attached to this Final Judgment as Exhibit A.
21
            2.      This Court has jurisdiction over the subject matter of this litigation, and over all
22
     parties to the litigation, including all members of the Settlement Class, and has jurisdiction to
23
     approve the settlement reflected in the Agreement, and hereby approves same.
24

25



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 1          3.      The Court hereby finds that for Settlement purposes, the following Class meets

 2   the requirements of Federal Rule of Civil Procedure 23, and certifies for purposes of the

 3   Agreement and Settlement, the following Settlement Class:

 4          All current United States owners and lessees of Model Year 2003-2005 General
            Motors GMT800 Platform automobiles manufactured on or before December
 5          31, 2004. The makes and models included in the GMT 800 Platform, and
            owned by the Settlement Class are Chevrolet – Avalanche, Silverado, Suburban,
 6          and Tahoe; GMC – Sierra, Yukon and Yukon XL; Cadillac – Escalade,
            Escalade ESV, and Escalade EXT. Excluded is any person, firm, corporation,
 7          trust or other entity related to or affiliated with Defendant General Motors and
            Defendant’s legal representatives, assigns and successors. Also excluded is any
 8          person who has or had an action for personal injury or death against General
            Motors as a result of an allegedly defective instrument cluster, speedometer, or
 9          stepper motor in any of the subject Vehicles, the judge to whom this case is
            assigned and any member of the judge’s immediate family.
10
            4.      The Court hereby finds that: (a) the settlement has been entered into in good
11
     faith and was concluded after Class Counsel had conducted an investigation concerning the
12
     issues raised by Plaintiffs' claims; (b) the settlement evidenced by the Agreement is fair,
13
     reasonable and adequate as to, and in the best interests of, the Settlement Class Members;
14
     (c) the settlement delivers benefits to the Class in a timely manner while resolving complex
15
     issues that would require expensive and long-lasting litigation; (d) the Agreement was the
16
     result of extensive arms' length negotiations between highly experienced counsel, with full
17
     knowledge of the risks inherent in this litigation, facilitated by a respected, experienced
18
     mediator; (e) there is no evidence of collusion or fraud in connection with the settlement;
19
     (f) the investigation conducted in the case to date suffices to enable the parties and the Court to
20
     make an informed decision as to the fairness and adequacy of the settlement; (g) the case raised
21
     complex and vigorously contested issues of law and fact, if fully litigated, that would result in
22
     complex, expensive, and lengthy litigation; (h) the Plaintiffs faced significant risks in
23
     establishing liability and damages; and (i) the release is tailored to address the allegations in
24
     the case. Accordingly, the Court hereby orders and declares (a) the Agreement is approved by
25
     the Court and shall be binding on all Settlement Class Members except those individuals and


     FINAL JUDGMENT-3
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 1   entities who have timely filed and served an election to be excluded from the Settlement Class,

 2   a list of whom is attached to this Judgment as Exhibit B, “List of Excluded Class Members ”;

 3   and (b) the Agreement is binding and preclusive in all pending and future lawsuits or other

 4   proceedings whether in state or federal court. The Plaintiff in one transferred putative class

 5   action, Rebecca Connelly, individually and on behalf of all others similarly situated v. General

 6   Motors, Civil Action 1:08-483, District of South Carolina, Aiken Division (the “Connelly

 7   Action”), has served a timely request for exclusion from the Settlement Class. Connelly,

 8   personally, having requested exclusion, is not a member of the Settlement Class. The Class

 9   allegations in the Connelly Action are stricken, but Plaintiff Connelly’s individual claim

10   alleged on her own behalf in the Connelly Action is not dismissed, in light of her request for

11   exclusion. Each and every term and condition of the Agreement as a whole (including the

12   attached exhibits) is approved as proposed, and the Agreement is made part of this Judgment

13   and is to be effective, implemented, and enforced as provided in the Agreement.

14          5.      The Court finds that the Class Notice implemented pursuant to this Court's

15   Preliminary Approval Order provided the best notice practicable under the circumstances. The

16   Court further finds that the Class Notice advised each member of the Class, in plain easily

17   understood language: (a) the nature of the suit; (b) the definition of the Class certified; (c) the

18   class claims, issues, and defenses; (d) that a Class Member could enter an appearance through

19   counsel if desired; (e) that the Court would exclude from the Class any member who timely

20   requested exclusion by a specified date; and (f) that the judgment incorporating the settlement

21   will fully release Defendant, dismiss the lawsuits consolidated and transferred to this Court for

22   purposes of Multi-District Litigation No. 1896 with prejudice, and include and bind all

23   members of the Class who did not timely request exclusion. The Court finds that the Class

24   Notice and Notice methodology fully complied with all applicable legal requirements,

25   including the Due Process Clause of the Constitution of the United States.



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 1          6.      The Court finds that Class Counsel and the Class representatives adequately

 2   represented the Class for purposes of entering into and implementing the Agreement.

 3          7.      The terms of the Agreement and this Judgment shall be forever binding on, and

 4   shall have res judicata effect and preclusive effect in, all pending and future lawsuits or other

 5   proceedings that may be maintained by or on behalf of the Plaintiffs or any Settlement Class

 6   Members, as well as their collective heirs, executors, administrators, successors and assigns,

 7   relating to the Action and/or the Released Claims (as defined in the Agreement).

 8          8.      The release which is set forth in the Agreement is expressly incorporated herein

 9   in all respects and is effective as of the date of this Judgment.

10          9.      The preceding paragraph of this Judgment covers, without limitation, any and

11   all claims for attorneys' fees, costs or disbursements incurred by Class Counsel or any other

12   counsel representing Plaintiffs or the Settlement Class Members, or incurred by Plaintiffs or

13   the Settlement Class Members, or any of them, in connection with or related in any manner to

14   this Action, the settlement of this Action, the administration of the settlement and/or the

15   Released Claims.

16          10.     All Settlement Class Members who did not timely exclude themselves from the

17   Class are, from this day forward, hereby permanently barred and enjoined from:

18          (a)     filing, commencing, prosecuting, intervening in, or participating in (as

19   Settlement Class Members or otherwise), any lawsuit in any jurisdiction based on or relating

20   to: (i) the claims and causes of action asserted or assertable in this Action; (ii) the facts and

21   circumstances relating to this Action; or (iii) the Released Claims, or

22          (b)     organizing Settlement Class Members, or soliciting the participation of

23   Settlement Class Members, in a separate class for purposes of pursuing as a purported class

24   action any other lawsuit (including by seeking to amend a pending complaint to include class

25   allegations, or seeking class certification in a pending action in any jurisdiction) based on or

     relating to the Released Claims.

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 1          11.     Class Counsel are hereby awarded attorneys' fees in the total amount of

 2   $2,300,000 ("Attorneys' Fees") and expenses ("Expenses") in the total amount of

 3   $72,000, to be paid in accordance with the terms and conditions set forth in the Agreement.

 4   Class Counsel shall have sole responsibility to allocate and distribute this award of Attorneys'

 5   Fees and Expenses. Defendant shall have no responsibility for, and no liability with respect to,

 6   the allocation of Attorneys' Fees and Expenses among Class Counsel or any other person who

 7   may assert some claim thereto.

 8          12.     Each of the named Class Representatives in the Zwicker, Falk and Christensen

 9   cases is hereby awarded $1,500.00 for their services as Class Representatives in the litigation,

10   the amount being fair, adequate and reasonable for the time and effort each expended. Such

11   incentive payments are to be paid by and from Class Counsel as part of the Expenses.

12   Defendant shall not be responsible for payment of such incentive payments.

13          13.     Neither this Judgment, nor the Agreement (nor any document referred to herein

14   or any action taken to carry out this Final Judgment) is, may be construed as, or may be used as

15   an admission by Defendant of the validity of any claim, of actual or potential fault, wrongdoing

16   or liability whatsoever. Entering into or carrying out the Agreement and any negotiations or

17   proceedings relating to the settlement shall not in any event be construed as, or deemed to be

18   evidence of, an admission or concession of the Defendant and shall not be offered or received

19   into evidence in any action or proceeding against any party hereto in any court, judicial,

20   administrative, regulatory hearing, arbitration, or other tribunal or proceeding for any purpose

21   whatsoever, except in a proceeding to enforce the Agreement. This Final Judgment and the

22   Agreement (including exhibits thereto) may, however, be filed in any action against or by the

23   Defendant to support a defense of res judicata, collateral estoppel, release, good faith

24   settlement, judgment bar or reduction, or any theory of claim preclusion or issue preclusion or

25   similar defense or counterclaim.



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 1           14.    Without affecting the finality of this judgment in any way, this Court hereby

 2   retains continuing jurisdiction over implementation of the terms of the Settlement Agreement

 3   and any resolution of any disputes arising thereunder.

 4           15.    The Court considered the objections filed by approximately thirty-five (35)

 5   Class members and finds that none of them warrants disapproval of the Agreement and are

 6   hereby OVERRULED. No objectors appeared at the fairness hearing held on November 6,

 7   2008.

 8           16.    This Action, including all individual claims and Class claims asserted or

 9   assertable herein, is hereby DISMISSED WITH PREJUDICE, without fees or costs to any

10   party except as otherwise provided herein.

11

12           IT IS SO ORDERED.




                                                     A
13
      Dated: November 7, 2008
14

15

16
                                                     John C. Coughenour
17                                                   UNITED STATES DISTRICT JUDGE
18

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     FINAL JUDGMENT-7
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